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             IN THE UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              :
                                                      :      Crim. No.23cr00288 (BAH)
v.                                                    :
                                                      :
JEANETTE MANGIA                                       :
                                                      :

      (defendant)

                      NOTICE TO CORRECT THE RECORD

       COMES NOW, undersigned and notes her correction to the record. In the motion

to Vacate Order(s) of Competency, undersigned asserted that the 3 letters sent to prior

counsel were written by Timothy-Andrew Young and not Ms. Mangia. Upon further

information, undersigned has now learned that Ms. Mangia may have written one letter.

                                                      Respectfully submitted,

                                                             /s/

                                                      ______________________
                                                      Elita C. Amato
                                                      D. C. Bar # 442797
                                                      2111 Wilson Blvd., 8th Floor
                                                      Arlington, VA 22201
                                                      703-522-5900


                            CERTIFICATE OF SERVICE

I hereby certify that this Motion will be filed electronically through the ECF
filing system on this 9th day of AUGUST 2024, thereby, providing service
electronically upon all parties in this case, including Government counsel.

                                             /s/
                                     Elita C. Amato


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